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                 8
                                          UNITED STATES DISTRICT COURT
                 9
                                        CENTRAL DISTRICT OF CALIFORNIA
                10
                                                  SOUTHERN DIVISION
                11
                   MATTEL, INC., a Delaware             CASE NO. CV 04-9049 DOC (RNBx)
                12 corporation, and Mattel de Mexico,   Consolidated with
                   S.A. de C.V., a Mexico business      Case No. CV 04-09059
                13 entity,                              Case No. CV 05-02727
                14             Plaintiffs,               Hon. David O. Carter
                15       vs.                             MATTEL, INC.’S REQUEST FOR
                                                         ADMISSION OF CARTER BRYANT
                16 MGA ENTERTAINMENT, INC., a            DRAWING EXHIBITS INTO
                   California corporation, et. al.,      EVIDENCE
                17
                                Defendants.
                18                                       [[Proposed] Order Filed Concurrently
                                                         Herewith]
                19 AND CONSOLIDATED ACTIONS
                20                                       Pre-trial Conf:        January 4, 2011
                                                         Trial Date:            January 18, 2011
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00505.07975/4041386.2
                               REQUEST FOR ADMISSION OF CARTER BRYANT DRAWING EXHIBITS INTO EVIDENCE
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                  1        Mattel, Inc. (“Mattel”) requests the admission into evidence of Carter Bryant
                  2 drawings reviewed by Mr. Bryant outside the presence of the jury pursuant to Court
                  3 Order and authenticated by Mr. Bryant at trial.
                  4        Pursuant to the Court’s January 30, 2011 Order Directing Delivery of
                  5 Exhibits to Non-Party Witness Carter Bryant, Mattel and MGA jointly delivered to
                  6 Mr. Bryant a binder containing exhibits that Mr. Bryant reviewed outside the
                  7 presence of the jury.1
                  8        Mr. Bryant then admitted at trial that he reviewed the binder of exhibits and
                  9 determined them to be a collection of his drawings done in connection with Bratz:
                10         Q   Mr. Bryant, this weekend, both parties had the
                11         opportunity to give you some documents to let you review
                12         them so we might be able to save time, correct?
                13         A   Yes.
                14         Q And one of the things you got was a binder of drawings,
                15         right?
                16         A   Yes.
                17         Q And did you review that binder of drawings?
                18         A   Yes.
                19         Q   Were you able to determine that that binder was a
                20         collection of drawings you did in connection with Bratz?
                21         A   Yes.
                22                  MR. PRICE: Your Honor, does that save us --
                23                  THE COURT: That's satisfactory.
                24                  Mr. Bryant was given some items over the weekend
                25         to save time. They are contained in this binder, and
                26
                27
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                  1         they've got about probably 100 tabs in them. Instead of
                  2         taking the time to call out each of those tabs, I'll work
                  3         with counsel this evening. You'll have a record of what
                  4         items are received, and it will be in this binder, which are
                  5         the drawings that have been referred to, which would be
                  6         exhibits --
                  7                 Are these the drawings for what time period,
                  8         though? Just let the jury know what you are referring to,
                  9         generally.
                10                  MR. PRICE: Well, that's in dispute.
                11                  THE COURT: Well, the time periods are in dispute,
                12          but are these allegedly originals or are they both originals
                13          and sketches? I mean, are they colored or are they original
                14          pencil sketches?
                15                  MR. PRICE: They are both.
                16                  THE COURT: They are both.
                17                  MR. PRICE: And the originals themselves are not
                18          in the binder because they are too big, but they are the
                19          color copies of the originals, or the sketches.
                20                  THE COURT: And the jury will have the originals
                21          also?
                22                  MR. PRICE: Yes.
                23                  THE COURT: All right. Thank you.
                24                  Now, can we have that binder set aside and give
                25          them to Cathy so this evening we can go over each of those
                26
                27      1
                           Order Directing Delivery of Exhibits to Non-Party Witness Carter Bryant,
                28      (footnote continued)
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                  1        items.2
                  2        The Court instructed that the parties confer and stipulate to the admission of
                  3 the binder of drawings reviewed by Mr. Bryant and authenticated at trial. Mattel
                  4 sent a draft stipulation to MGA over a month ago and has yet not received a
                  5 satisfactory answer as to the admissibility of these exhibits.3 These exhibits have
                  6 been reviewed by Mr. Bryant outside the presence of the jury pursuant to Court
                  7 Order and have been authenticated at trial. MGA can not have any justifiable reason
                  8 to object to the admission of these exhibits into evidence.
                  9        Mattel accordingly requests that the following exhibits contained in the binder
                10 reviewed by Mr. Bryant be admitted into evidence:
                11            1. Trial Exhibit 1
                12            2. Trial Exhibit 2
                13            3. Trial Exhibit 3
                14            4. Trial Exhibit 5-3, 5-14, 5-18 – 5-19, 5-26 – 5-28, 5-30, 5-34 – 5-43, 5-
                15                46, 5-49, 5-50, 5-52 – 5-89, 5-95 – 5-96, 5-99, 5-101 – 5-108, 5-111 –
                16                5-114, 5-136
                17            5. Trial Exhibit 10-2, 10-3
                18            6. Trial Exhibit 35
                19            7. Trial Exhibit 62
                20            8. Trial Exhibit 63-1
                21            9. Trial Exhibit 323-18, 323-19, 323-26, 323-32, 323-33
                22            10. Trial Exhibit 523
                23            11. Trial Exhibit 620
                24
                25
                26 dated January 30, 2011 (Docket No. 9744).
                      2
                27       Reporter’s Transcript of Proceedings, dated February 1, 2011, Volume 2 at
                   5:17-7:8.
                28
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                  1          12. Trial Exhibit 621
                  2          13. Trial Exhibit 623
                  3          14. Trial Exhibit 624
                  4          15. Trial Exhibit 701-713
                  5          16. Trial Exhibit 715-728
                  6          17. Trial Exhibit 734-737
                  7          18. Trial Exhibit 739-744
                  8          19. Trial Exhibit 746
                  9          20. Trial Exhibit 751
                10           21. Trial Exhibit 752-762
                11           22. Trial Exhibit 764-765
                12           23. Trial Exhibit 767-768
                13           24. Trial Exhibit 770-771
                14           25. Trial Exhibit 773-786
                15           26. Trial Exhibit 788-796
                16           27. Trial Exhibit 1107-1110
                17           28. Trial Exhibit 1152-1, 1152-2, 1152-5, 1152-6, 1152-7, 1152-8, 1152-9,
                18              1152-11, 1152-12, 1152-13, 1152-14, 1152-15, 1152-16, 1152-17,
                19              1152-18, 1152-19, 1152-20
                20           29. Trial Exhibit 1327
                21           30. Trial Exhibit 1328
                22           31. Trial Exhibit 1748
                23           32. Trial Exhibit 1750
                24           33. Trial Exhibit 1751-1, 1751-4, 1751-5
                25           34. Trial Exhibit 1752-1
                26
                27      3
                           See E-mail from Scott Watson to Denise Mingrone and Tom McConville,
                28      (footnote continued)
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                  1              35. Trial Exhibit 10033-3, 10033-4
                  2              36. Trial Exhibit 10153-3, 10153-4
                  3              37. Trial Exhibit 10515
                  4              38. Trial Exhibit 10518-10519
                  5              39. Trial Exhibit 10526
                  6              40. Trial Exhibit 10534-10539
                  7              41. Trial Exhibit 10542-10547
                  8              42. Trial Exhibit 10579
                  9              43. Trial Exhibit 10613
                10               44. Trial Exhibit 10638-10639
                11               45. Trial Exhibit 11788-11789
                12               46. Trial Exhibit 11837-11838
                13               47. Trial Exhibit 13583
                14               48. Trial Exhibit 15172
                15               49. Trial Exhibit 15175-15177
                16               50. Trial Exhibit 15179-15182
                17               51. Trial Exhibit 15184
                18               52. Trial Exhibit 18281
                19               53. Trial Exhibit 18501
                20 DATED: March 30, 2011                   QUINN EMANUEL URQUHART &
                                                           SULLIVAN, LLP
                21
                22
                                                           By /s/ Michael T. Zeller
                23                                           Michael T. Zeller
                24                                           Attorneys for Mattel, Inc. and Mattel de
                                                             Mexico, S.A. de C.V.
                25
                26
                27
                        dated February 21, 2011.
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